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                         EXHIBIT 4
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                                          Tuesday, September 17, 2024 at 00:36:56 Eastern Daylight Time

Subject: Re: Sean Combs
Date:    Monday, March 18, 2024 at 1:35:36 PM Eastern Daylight Time
From:    Marc Agniﬁlo
To:      emily.johnson@usdoj.gov, mitzi.steiner@usdoj.gov
CC:      Zach Intrater, Teny Geragos


Hello AUSAs Johnson and Steiner –

Just following up on the email from last Wednesday. If you have a few minutes to touch base, I
would really appreciate it. There is a situation that I would like to bring to your attention. Thank
you. Marc

Marc Agniﬁlo
Agniﬁlo Intrater LLP
445 Park Avenue, 7th Fl.
New York, NY 10022
marc@agilawgroup.com
www.agilawgroup.com




From: Marc Agniﬁlo <marc@agilawgroup.com>
Date: Wednesday, March 13, 2024 at 4:33 PM
To: emily.johnson@usdoj.gov <emily.johnson@usdoj.gov>, mitzi.steiner@usdoj.gov
<mitzi.steiner@usdoj.gov>
Subject: Sean Combs

Good afternoon AUSAs Johnson, Steiner and Smyser (I apologize AUSA Smyser, I could not ﬁnd your
email address)

My name is Marc Agniﬁlo and I represent Sean Combs in connection with your investigation. I know
we have never met, but I would like to speak with you and provide you with information that has
come to my attention over the last couple of weeks. My cell phone is 917.399.9742. Thank you. I
look forward to meeting you.

Marc




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